                                        UNITED STATES DISTRICT COURT
                                     WESTERN DISTRICT OF NORTH CAROLINA
                                            CHARLOTTE DIVISION
                                       DOCKET NO. 3:16-cr-00013-MOC-DCK

               UNITED STATES OF AMERICA,                      )
                                                              )
                                                              )
                                                              )
               v.                                             )                     ORDER
                                                              )
               DONALD JENKINS,                                )
                                                              )
                               Defendant.                     )



                      THIS MATTER is before the court on the court’s own Motion to Correct the Judgment

              in the Criminal Case. The court enters the following Order to correct typographical errors on the

              Judgment (#447) in this above-captioned case.

                                                        ORDER

                      IT IS, THEREFORE, ORDERED that the statement “All recommendations made in

              the original judgment are continued” appearing on page 2 of the Judgment (#447) shall be

              REMOVED, and that the numbering on page 3 of “Additional Conditions” appearing as

              condition number 29 shall be AMENDED to read “28.”

                      The Clerk of Court is directed to submit an amended Judgment reflecting this change.

Signed: November 18, 2016




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